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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


BETH HAGER,

               Plaintiff,
v.                                                       Case No. 1:16-CV-296

ROBERT C. STEINERT,                                      HON. GORDON J. QUIST
d/b/a American Credit Recovery
and d/b/a Debt Billing Recovery,

            Defendant.
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                                    DEFAULT JUDGMENT

       In accordance with the Memorandum Order entered today, judgment is entered in favor of

Plaintiff and against Defendant in the amount of $9,980.00, including statutory damages and

attorneys fees, plus $515.00 in costs.



Dated: October 14, 2016                                 /s/ Gordon J. Quist
                                                       GORDON J. QUIST
                                                  UNITED STATES DISTRICT JUDGE
